	NO. 07-11-0462-CR

	IN THE COURT OF APPEALS

	FOR THE SEVENTH DISTRICT OF TEXAS

	AT AMARILLO

	PANEL B

	FEBRUARY 10, 2012
	______________________________

	WILLIAM RAYMOND SHAW,

Appellant

	V.

                              THE STATE OF TEXAS,

Appellee
                        ______________________________

	FROM THE COUNTY COURT AT LAW NO. 2 OF POTTER COUNTY;

	NO. 130,293-2; HON. PAMELA COOK SIRMON, PRESIDING
	______________________________

	MEMORANDUM OPINION
	______________________________

Before QUINN, C.J., and CAMPBELL and HANCOCK, JJ.
William Raymond Shaw perfected this appeal on November 17, 2011.  The appellate record was due on or about January 6, 2012.  Both the district clerk and court reporter filed motions to extend the time to file their records because appellant apparently failed to pay or make arrangements to pay for them, as required by Texas Rules of Appellate Procedure 35.3(a)(1) &amp; (2) and 35.3(b)(3).  Moreover, the trial court determined, on January 4, 2012, that he is not indigent or entitled to a free appellate record.
By letter dated January 23, 2012, we directed appellant to certify to this court, by February 3, 2012, that he had complied with appellate rules of procedure 35.3(a)(2) and 35.3(b)(3).  So too was he informed that failure to meet that deadline would result in the dismissal of his appeal.  And though the clerk's record was filed on February 2, 2012, the reporter's record remains outstanding.  Similarly missing is any notification from appellant illustrating that he either paid or made arrangements for the payment of either portion of the appellate record.  Nor have we received any communication from him in response to our January 23rd letter.   
Simply put, appellant has not complied with our directives concerning the appellate record.  Nor has he communicated with us about the matter, this appeal, or his intent to prosecute the appeal.  Nor do we have the reporter's record or any indication about when, if ever, it will be filed.  And, given the trial court's finding that appellant is not indigent and, therefore, entitled to a free record, we have little reason to direct the county or reporter to assume his financial burdens and supply the record at their cost.  These circumstances warrant the dismissal of the appeal for want of prosecution per Roberts v. State, No. 06-09-0003-CR, 2009 Tex. App. Lexis 3855, at *1-2 (Tex. App. - Texarkana April 10, 2009, no pet.) (not designated for publication) and Rodriguez v. State, 970 S.W.2d 133, 135 (Tex. App. - Amarillo 1998, pet. ref'd).  Our decision to so dismiss is further supported by our sua sponte review of the clerk's record, per Tex. R. App. P. 37.3(c), and inability to find any arguable issues warranting continuation of the proceeding.
  Consequently, we dismiss the appeal for want of prosecution.  

Per Curiam
Do not publish.
